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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                           CASE NO. 1:08-cr-00004-SPM-AK

JUAN ANTRELL WASHINGTON,

      Defendant.
___________________________/

                                           ORDER

       This matter is before the Court on Doc. 266, Defendant's Motion entitled Suggestion of

Conflict of Interest. A teleconference was held on February 24, 2009. As stated during the

conference, an in-court hearing will be held on the matter at 10:00 a.m. on Wednesday, March 4,

2009. The federal public defender shall provide an attorney to appear at the hearing and to

question defense counsel if necessary. A copy of this order, and the motion at Doc. 266, shall be

sent to the federal public defender.



       DONE AND ORDERED this 25th day of February, 2009


                                       s/Maurice M. Paul
                                  Maurice M. Paul, Senior District Judge
